 Case 1:18-cr-00457-AJT Document 271 Filed 07/08/19 Page 1 of 1 PageID# 2891


                     UNITED STATES DISTRICT COURT
                    CRIMINAL MOTION MINUTES

Date: 7/8/2019                         Judge:       Anthony J. Trenga
Time: 2:08 – 2:18                      Reporter:    Rhonda Montgomery
                                       Deputy Clerk: Dani Zirk

Case Number: 1:18-CR-457-1

UNITED STATES OF AMERICA

vs.

BIJAN RAFIEKIAN                                Present     X   Not Present


  Counsel for Defendant Rafiekian            Counsel for Government
  Mark MacDougall                            Evan Turgeon
  Stacey Mitchell                            James Gillis
  Robert Trout                               S. Katie Sweeten
  Adam Bereston
  Samantha Block
  John Murphy
  Counsel for Interested Party
  Jesse Binnall


PROCEEDINGS:

Motion to/for:
Sealed Document [261] by the Government.
Sealed Document [269] by the Defendant.
Sealed Document [270] by Interested Party.


Order to follow.

Without objection, the Court is going to unseal the Notice of Correction as well as
all related filings. CIPA Hearing set for 7/10/2019 at 1:00 p.m.
